UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


COMPASSCARE, a New York nonprofit corporation;
NATIONAL INSTITUTE OF FAMILY AND LIFE
ADVOCATES d/b/a NIFLA, a Virginia corporation;
FIRST BIBLE BAPTIST CHURCH, a New York nonprofit
corporation,                                                               19-CV-1409

                                                   Plaintiffs,              AMN/DJS

                        -against-

KATHY HOCHUL, in her official capacity as the Governor
of the State of New York; ROBERTA REARDON, in her
official capacity as the Commissioner of the Labor
Department of the State of New York; and LETITIA
JAMES, in her official capacity as the Attorney General of
the State of New York,

                                              Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
          PLAINTIFFS’ EXPRESSIVE ASSOCIATION CLAIM


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       This Memorandum of Law is submitted on behalf of Defendants Kathy Hochul, in her

official capacity as Governor of the State of New York, Roberta Reardon in her official capacity

as Commissioner of the New York State Department of Labor, and Letitia James in her official

capacity as New York State Attorney General (collectively Defendants) pursuant to the direction

of the United States Court of Appeals for the Second Circuit, Order, ECF No. 61; Mandate, ECF

No. 65, in support of Defendants’ Motion to Dismiss Plaintiffs’ expressive association claims.

Defendants’ Cross-Motion to Dismiss, ECF No. 19.

                                PRELIMINARY STATEMENT

       In Slattery v. Hochul, the Second Circuit held that an employer may have an expressive

association claim only when a law “forces [the employer] to employ individuals who act or have

acted against the very mission of its organization.” 61 F. 4th 278, 288 (2d Cir. 2023) (emphasis

added). Thereafter, on appeal from this Court’s earlier Judgment, the Second Circuit also clarified

that “[t]here are meaningful differences between relationships among members of voluntary

organizations and relationships between employers and employees.” CompassCare v. Hochul,

2025 U.S. App. LEXIS *6, *17 (2d Cir. Jan. 2, 2025). The Court held that only a plaintiff employer

that alleges with specificity that a law requiring a particular employment decision threatens its very

mission sufficiently states an expressive association claim. Id. at *23.

       Plaintiffs in this case, CompassCare, National Institute of Family and Life Advocates

(NIFLA) and First Bible Baptist Church (First Bible), each allege that they have certain religious

views that preclude them from complying with Labor Law § 203-e, which was enacted to prohibit

employment discrimination based on private reproductive health care decisions made by

employees and their dependents. N.Y. Labor Law § 203-e. However, the Complaint fails to include



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sufficient facts to satisfy the standard set forth in Slattery, as explained by the Second Circuit on

appeal here, to state an expressive association claim on behalf of any Plaintiff.

                                      LABOR LAW § 203-E

       Labor Law § 203-e (§ 203-e or the statute) was enacted to “prohibit employers from

discriminating against employees based on the employees’ or dependents’ reproductive health

decisions, and to provide remedies for such violations.” N.Y.S. Assembly Memorandum in

Support of Legislation, ECF No. 1-4 at 5; N.Y.S. Senate Sponsor Memo, ECF No. 1-5 at 6.

Specifically, it prohibits all employers from: (1) “accessing an employee’s personal information

regarding the employee’s or the employee’s dependent’s reproductive health decision making,

including but not limited to, the decision to use or access a particular drug, device or medical

service without the employee’s prior informed affirmative written consent,” N.Y. Labor Law §

203-e (1); or (2) discriminating, or taking “any retaliatory personnel action against an employee

with respect to compensation, terms, conditions, or privileges of employment because of or on the

basis of the employee’s or dependent’s reproductive health decision making, including, but not

limited to, a decision to use or access a particular drug, device or medical service.” Id. at § 203-e

(2)(a). Additionally, an employer may not “require an employee to sign a waiver or other document

which purports to deny an employee the right to make their own reproductive health care decisions,

including use of a particular drug, device, or medical service.” Id. at § 203-e (2)(b). Further, if an

employer “provides an employee handbook to its employees,” it must “include in its handbook

notice of” these rights (Notice Provision). Id. at § 203-e (3).




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                                PROCEDURAL BACKGROUND

          Plaintiffs commenced this action against Defendants alleging that § 203-e violates their

First Amendment rights to (1) the free exercise of religion, (2) religious autonomy, (3) free speech

and (4) expressive association, and is unconstitutionally vague under the Fourteenth Amendment.

Complaint, ECF No. 1 (Compl.). Thereafter, Plaintiffs filed a Motion for a Preliminary Injunction

seeking to enjoin the enforcement of § 203-e. Plaintiffs’ Motion for a Preliminary Injunction, ECF

No. 17. In response, Defendants opposed the motion and simultaneously cross-moved to dismiss

the Complaint. Defendants’ Cross-Motion to Dismiss, ECF No. 19.

          In a Decision and Order dated June 5, 2020, the Court granted Defendants’ Cross-Motion

to Dismiss all of Plaintiffs’ claims except a free speech challenge to the Notice Provision and

granted Plaintiffs’ Motion for a Preliminary Injunction enjoining enforcement of the Notice

Provision while denying that motion in all other respects. CompassCare v. Cuomo, 465 F. Supp.

3d 122 (N.D.N.Y. 2020). In so ruling, the Court accepted Plaintiffs’ argument that the Notice

Provision is subject to strict scrutiny review. Id. at 159.

          Following discovery, the parties cross-moved for summary judgment on Plaintiffs’ claim

that the Notice Provision violated Plaintiffs’ right to free speech. Defendants’ Motion for

Summary Judgment, ECF No. 43; Plaintiffs’ Motion for Summary Judgment, ECF No. 44. By

Decision and Order dated March 29, 2022, the Court granted Plaintiffs’ motion in its entirety and

permanently enjoined the enforcement of the Notice Provision against Plaintiffs. CompassCare v.

Cuomo, 594 F. Supp. 3d 515 (N.D.N.Y. 2022). The parties cross-appealed from the Court’s final

Judgment. Plaintiffs’ Notice of Appeal, ECF No. 57; Defendants’ Notice of Cross-Appeal, ECF

No. 59.




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        On appeal, the Second Circuit vacated the injunction prohibiting enforcement of the Notice

Provision, finding that the Notice Provision is subject to rational basis review, and that it satisfies

that standard. CompassCare v. Hochul, 2025 U.S. App. LEXIS at **28, 34. The Court also vacated

the dismissal of Plaintiffs’ expressive association claim in light of its holding in Slattery v. Hochul,

and remanded the case the District Court to determine (1) whether the Complaint alleges an

expressive association claim on behalf of any of the Plaintiffs consistent with the Second Circuit’s

decisions in Slattery and CompassCare, and, if so, (2) whether the Notice Provision should apply

to any Plaintiff that states such a claim. Id. at **23, 35.

                         FACTS AS ALLEGED IN THE COMPLAINT

       The Complaint alleges that Plaintiff CompassCare is a non-profit “pregnancy care center”

that provides pregnancy-related clinical testing, information and “counseling” to women

considering abortion. Compl. ¶¶ 55, 56, 58, 59-63. CompassCare also “provides training and tools

to other pregnancy care centers,” maintains websites and a blog, and “broadcasts its pro-life

message through radio segments and television spots.” Id. ¶¶ 95, 96.

        CompassCare “does not recommend, provide, or refer for abortions or abortifacient drugs

or devices,” or “provide or refer patients for birth control in any form,” because abortion and birth

control use are contrary to its religious beliefs. Id. ¶¶ 65-80. Accordingly, CompassCare, through

its employee handbook, requires its employees to agree not to, inter alia, have an abortion or use

contraception. Id. ¶¶ 81-93; see also CompassCare v. Hochul, 2025 U.S. App. at **5-7 (setting

forth the allegations in the Complaint about CompassCare). The Complaint does not allege any

positions held by any employee at CompassCare, the duties associated with any positions, how

compliance with § 203-e as to a particular position undermines CompassCare’s very mission, or




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that any employee of CompassCare ever made a reproductive healthcare decision objectionable to

CompassCare. See generally, Compl.

       Plaintiff NIFLA is a “non-profit membership organization[1],” which is “incorporated as a

religious organization” in Virginia, and “provides both medical and non-medical pro-life

pregnancy centers with legal resources and counsel.” Id. ¶¶ 42, 97, 98, 99. It has forty-one member

centers in New York, to which it offers a “an employee handbook template.” Id. ¶¶ 102, 105; see

also CompassCare v. Hochul, 2025 U.S. App. LEXIS at *7-8 (setting forth the allegations in the

Complaint about NIFLA). The Complaint does not allege any positions held by any employee of

NIFLA member centers, the duties associated with any such positions; how compliance with §

203-e as to a particular position undermines the very mission of NIFLA’s member centers, or that

any employee of NIFLA member centers ever made a reproductive healthcare decision

objectionable to NIFLA’s member centers. See generally, Compl.

       Plaintiff First Bible is a church whose religious beliefs preclude abortion and permit sexual

activity only between a man and woman within marriage. Id. ¶¶ 118-123. First Bible works with,

and supports, CompassCare and other pro-life organizations. Id. ¶¶ 124-128. It also operates a pre-

K though twelfth grade school (Northstar Christian Academy) and a sports and recreation program

(Grace and Truth Athletics and Sports Park).2 Id. at ¶¶ 133, 137. First Bible “will not hire or retain,”

or will subject to discipline, employees who, inter alia, have an abortion. Id. at ¶¶ 130-132, 140.

The Complaint does not allege that First Bible has an employee handbook, but it does allege that




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  NIFLA asserts only organizational standing, seeking to maintain claims “on behalf of its New
York members, which are pregnancy centers throughout New York State that…are regulated by”
§ 203-e. Compl. ¶ 31. As such, the Complaint does not appear to allege any claims on behalf of
NIFLA, itself. See generally, Compl.
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  Unless otherwise stated, all references herein to First Bible include Northstar Christian Academy
and Grace and Truth Athletics and Sports Park.
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employees are required to “assent” to not have an abortion or engage in sexual activity outside of

marriage. Id. ¶¶ 130-131; see also CompassCare v. Hochul, 2025 U.S. App. LEXIS at **8-9

(setting forth the allegations in the Complaint about First Bible). The Complaint does not allege

any positions held by any employee at First Bible, the duties associated with any positions, how

compliance with § 203-e as to a particular position undermines First Bible’s very mission, or that

any employee of First Bible ever made a reproductive healthcare decision objectionable to First

Bible.

                                    STANDARD OF REVIEW

          On a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the court must “accept[] all

factual allegations in the complaint as true and draw[] all reasonable inferences in the plaintiff’s

favor.” Concord Assocs., L.P. v. Entm’t Props. Trust, 817 F. 3d 46, 52 (2d Cir. 2016); see also

Daniels v. Regan, 2025 U.S. Dist. LEXIS 15495, *10 (N.D.N.Y. Jan. 29, 2025). However, the

court is not required to assume that legal conclusions within the complaint are true. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009); see also Sarhadi v. Geever, 2024 U.S. Dist. LEXIS 229072, *10

(N.D.N.Y. Dec. 18, 2024). When ruling on a motion to dismiss, a “district court may consider the

facts alleged in the complaint, documents attached to the complaint as exhibits, and documents

incorporated by reference in the complaint.” DiFolco v. MSNBC LLC, 622 F. 3d 104, 111 (2d Cir.

2010)).

          To withstand a motion to dismiss, a complaint must plead “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 50 U.S. 544, 570 (2007) see also

Imbriano v. Murray, 2025 U.S. Dist. LEXIS 2406, *5 (N.D.N.Y. Jan. 7, 2025). A claim is plausible

“when the plaintiff pleads factual content that allows the court to draw the reasonable inference




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that the defendant is liable for the misconduct alleged.” Matson v. Bd. of Educ., 631 F. 3d 326, 329

(2d Cir. 2011).

                                            ARGUMENT

                  NO PLAINTIFF STATES AN EXPRESSIVE ASSOCIATION CLAIM

       The First Amendment protects the “‘right to associate with others in pursuit of a wide

variety of political, social, economic, educational, religious, and cultural ends.’” Boy Scouts of

America v. Dale, 530 U.S. 640, 647 (2000) (quoting Roberts v. United States Jaycees, 468 U.S.

609, 622 (1984)). However, the freedom of association “is not absolute.” Id. at 648. Incidental

burdens on associational interests do not violate the First Amendment. Tabbaa v. Chertoff, 509 F.

3d 89, 101 (2d Cir. 2007). Indeed, unless the burden on expressive association rights is “severe,”

a statute need only be supported by a rational basis. Jacoby & Meyers, LLP v. Presiding Justices

of the First, Second, Third & Fourth Dep’ts, 852 F. 3d 178, 191 (2d Cir. 2017).

       The Second Circuit recently considered the scope of an employer’s right to expressive

association in connection with its employees. Slattery v. Hochul, 61 F. 4th at 286-291;

CompassCare v. Hochul, 2025 U.S. App. LEXIS at **12-23. The Court explained that there are

meaningful differences between the relationship of employers with their employees and the

relationship of voluntary membership organizations with their members. CompassCare v. Hochul,

2025 U.S. LEXIS at **17-18. Unlike membership organizations, the employment field has

traditionally been heavily regulated by both the state and federal government and often involves

“significant power imbalances.” Id. at *17. Therefore, courts “must ensure that the right to

expressive association does not serve as a shield for unlawful discrimination.” Id. at *18. As a

result, the Court held that only a plaintiff employer that alleges with specificity that a law requiring

a particular employment decision threatens its very mission sufficiently states an expressive



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association claim. Id. at *23. The Complaint fails to meet this standard in connection with any

Plaintiff.

        To state an expressive association claim challenging § 203-e, “[i]t is not enough for an

employer to claim that it holds particular views or interests, or even that it expresses such views

through its work.” Id. at *20. Instead, a plaintiff employer must allege that § 203-e “threatens its

very mission” “in the context of a specific employment decision.” Id. at *21 (citing Boy Scouts of

America v. Dale, 530 U.S. 640, 653 (2000)). To do so, an employer must allege facts illustrating

that the employment of a person in a particular position “renders the employment of that person,

in that position, a threat to the employer’s mission.” Id. Relevant to that assessment are “the

responsibilities of the position” and “the particular conduct or attribute of” a particular employee.

Id.

        Therefore, to withstand a motion to dismiss, each Plaintiff must allege sufficient facts from

which it may be found that (1) § 203-e forces it to “‘employ individuals who act or have acted

against’ its ‘very mission,’” id. (quoting Slattery, 61 F. 4th at 288); and (2) § 203-e “burdens its

associational rights with respect to specific employment decisions.” Id. The Complaint does not

satisfy this standard as to any Plaintiff. First, the Complaint fails to allege that each Plaintiff is the

type of employer whose “very mission” would be burdened by employing someone who made a

particular reproductive health care decision. Second, the Complaint fails to allege any facts about

particular positions held by their employees or how compelled employment in such positions will

interfere with each Plaintiff’s mission. The Second Circuit stated that the “(1) responsibilities of

the position at issue, including whether it is client-facing and whether it involves expressly or

implicitly speaking for the organization, and (2) the particular conduct or attribute of the employee

that renders the employment of that person, in that position, a threat to the employer’s mission”



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are factors to be considered when determining that an employer’s expressive association rights are

implicated by the enforcement of § 203-e. CompassCare v. Hochul, 2025 U.S. App. LEXIS at

**21-22. The Complaint does not include any such information about any Plaintiff.

   A. CompassCare

       CompassCare “function[s] as a…pregnancy center facilitating medical and other assistance

to women facing unplanned pregnancies. Compl. ¶ 95. It provides pregnancy testing, ultrasounds,

consultations about pregnancy, abortion and adoption options, STD testing and treatment, medical,

insurance and community referrals, and informational resources about pregnancy, abortion, post-

abortion care and expectations, contraception, and STDs. Id. ¶¶ 58-60. Because of its pro-life

beliefs, CompassCare “does not recommend, provide, or refer for abortions or abortifacient drugs

or devices,” and does not “provide or refer patients for birth control in any form.” Id. ¶¶ 69, 73. It

also “provides training and tools to other pregnancy centers…to optimize and standardize

treatment and counseling throughout the industry.” Id. ¶ 95

       The Complaint does not mention any position held by CompassCare employees, or the

duties associated with any position, including whether a position is client-facing or if the holder

of such a position “speaks” for CompassCare. It does not include any allegations that employing

individuals consistent with the requirements of § 203-e would undermine CompassCare’s very

mission of providing medical testing, information, and resource referrals to women facing

unplanned pregnancies. As a result, the Complaint fails to satisfy the test set forth by the Second

Circuit, and all claims asserted on behalf of CompassCare should be dismissed. Slattery, 61 F. 4th

at 288; CompassCare v. Hochul, 2025 U.S. App. LEXIS at **21-22.




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   B. NIFLA

NIFLA is a “non-profit membership organization,” that “provides both medical and non-medical

pro-life pregnancy centers with legal resources and counsel.” Compl. ¶¶ 42, 97-99. It describes its

mission as “empower[ing] the choice for life by: equipping pregnancy centers with legal counsel

and support; enabling pregnancy centers to convert to medical clinic status where possible; and

energizing pregnancy centers with a renewed vision for the future.” Id. § 101. It has forty-one

member centers in New York, that are “religious organizations that pursue their pro-life mission

and spread their pro-life message as an exercise of their religious beliefs.” Id. ¶¶ 102, 103.

       The Complaint includes no allegations about the positions held by any employees of

NIFLA’s member centers, including whether any positions are client-facing, or involve the

employee speaking for NIFLA’s member centers. See generally, Compl. It is completely lacking

any allegations explaining how employing someone for a particular employment position

consistent with § 203-e would entirely undermine the missions of NIFLA’s member centers. Id.

As a result, the Complaint fails to satisfy the test set forth by the Second Circuit, and all claims

asserted on behalf of NIFLA should be dismissed. Slattery, 61 F. 4th at 288; CompassCare v.

Hochul, 2025 U.S. App. LEXIS at **21-22.

   C. First Bible

       The Complaint alleges that First Bible “spread[s] the Gospel in the greater Rochester area”

and “has a thriving missionary purpose and practice, through which it seeks to spread God’s

message throughout the world.” Compl. ¶ 115. The Complaint fails to describe First Bible’s

“missionary purpose and practice” with any specificity. Instead, it describes its beliefs, id. ¶¶ 117-

122, 130, 134, 135, and alleges that (1) it operates a school (Northstar Academy) and recreational

sports facility (Grace and Truth Athletics and Sports Park), (2) makes donations to, and participates



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in fundraisers and events organized by, pregnancy centers, (3) provides supplies and gift cards to

new foster parents and (4) offers respite care to foster parents. Id. ¶¶ 124-128.

Similarly, the Complaint fails to describe the positions and duties of the employees of First Bible,

including whether any are client-facing or involve “speaking” for First Bible. See generally,

Compl. Instead, it simply alleges that First Bible has fourteen “pastors and directors” and employs

twenty-four employees. Compl. ¶ 129. Northstar Christian Academy employes six administrators

and thirty-three teachers at its pre-K to twelfth grade school. Id. ¶ 133. Grace and Truth Athletics

and Sports Park operates sports programs and employs one director and ten part-time employees.

Id. 137-138.

        Finally, the Complaint is also completely devoid of any factual allegations to sufficiently

allege how alleged compelled hiring for a particular position consistent with § 203-e threatens First

Bible’s mission. In fact, the Complaint fails to include any allegations that reproductive health care

advocacy has anything to do with its very mission. CompassCare, 2025 U.S. App. LEXIS at n. 9

(noting that “First Bible does not allege that anti-abortion advocacy is central to its mission”). As

a result, the Complaint fails to satisfy the test set forth by the Second Circuit, and all claims asserted

on behalf of First Bible should be dismissed. Slattery, 61 F. 4th at 288; CompassCare v. Hochul,

2025 U.S. App. LEXIS at **21-22.

        As no Plaintiff alleges facts sufficient to state a cognizable expressive association claim,

the Complaint should be dismissed in its entirety with prejudice.




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                                         CONCLUSION

       The Complaint fails to state an expressive association claim on behalf of any Plaintiff and,

therefore, the Complaint should be dismissed in its entirety with prejudice.



Dated: Albany, New York
       March 13, 2025
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